
OPINION OF THE COURT
Memorandum.
The appeal should be dismissed.
The Appellate Division reversed because it concluded that the People were obligated to produce the undercover officer at the hearing in order to establish probable cause for the defendant’s arrest. However, in view of the fact that this defendant never raised that issue at the hearing, the Appellate Division’s determination was necessarily made as a matter of discretion in the interest of justice (CPL 470.15, subd 3, par [c]) and thus is not appealable to this *729court (CPL 450.90, subd 2, par [a]; People v Fava, 58 NY2d 807; see, also, People v Dercole, 52 NY2d 956).
Appeal dismissed in a memorandum.
